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                         UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                         §
CHARLES MOWRY, Individually and on       §
behalf of all others similarly situated, § Case No.: 2:20-cv-02092-CMR
                                         §
                           Plaintiff,    §
                                         §
        v.                               §
                                         § NOTICE OF VOLUNTARY DISMISSAL
THE MEET GROUP, INC., JEAN CLIFTON, § PURSUANT TO F.R.C.P. 41(a)(1)(A)(i)
GEOFFREY COOK, CHRISTOPHER               §
FRALIC, SPENCER RHODES, KEITH            §
RICHMAN, BEDI SINGH, JASON WHITT §
                                         §
                           Defendants.   §
                                         §


        Notice is hereby given that, pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil

Procedure, plaintiff Charles Mowry (“Plaintiff”) voluntarily dismisses this action without

prejudice as to both the Plaintiff’s individual claims and the claims of the putative class. This

notice of dismissal is being filed before service by Defendants of either an answer or a motion for

summary judgment. Since no class has been certified and the dismissal is without prejudice as to

the members of the putative class, notice of this dismissal is not required. Plaintiff’s dismissal of

this Action is effective upon filing of this notice.


 Dated: July 21, 2020                                  BRODSKY & SMITH, LLC

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